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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

COMMONWEALTH OF
MASSACHUSETTS, et al.

Plaintiffs,

NATIONAL INSTITUTES OF HEALTH,
et al.

Defendants.

ASSOCIATION OF AMERICAN
MEDICAL COLLEGES, et al.

Plaintiffs,

NATIONAL INSTITUTES OF HEALTH,

et al.

Defendants.

ASSOCIATION OF AMERICAN
UNIVERSITIES, et al.,

Plaintiffs,

DEPARTMENT OF HEALTH AND

HUMAN SERVICES, et al.

Defendants.

Leave to file granted on:
February 20, 2025

Case No.: 1:25-cv-10338

Case No.: 1:25-cv-10340-AK

Case No.: 1:25-cv-10346-AK

BRIEF OF AMICI CURIAE CITIES, COUNTIES,
AND MAYORS IN SUPPORT OF PLAINTIFFS’ MOTIONS
FOR TEMPORARY RESTRAINING ORDER
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Dated: February 20, 2025
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STATEMENT OF INTEREST

Amici are 45 cities, counties, and mayors from across the United States.! They represent
jurisdictions home to some of the largest and most significant research universities and hospitals
in the country. Several amici are also in states not currently covered by the coalition of state
attorneys general litigating in these matters.

The action by the National Institutes of Health (“NIH”) at issue in these cases would have
severe and long-term impacts on our jurisdictions. An immediate and substantial reduction in
funding to support life-saving medical and scientific research would stall or eliminate projects,
cause a loss of jobs, and reduce the research capacity of our institutions. Moreover, because these
research institutions are at the center of bigger biotech and other science-based economic hubs in
our cities, the entire system will degrade.

Many of our jurisdictions have invested directly in these efforts in order to support them.
Some jurisdictions are indirect recipients of NIH funding. Some will lose income taxes and other
revenues as result of the sudden effects of the agency action. City resources will be required to
replace investment by NIH and support workers who have lost their jobs. Amici write separately
here to highlight these local impacts and to illustrate the nationwide and significant effects of the
arbitrary and irrational decision at issue here.

ARGUMENT

Amici cities, counties, and mayors agree with the legal arguments offered by the three sets

of plaintiffs. The agency action at issue in this case is arbitrary and capricious as well as contrary

to law for numerous reasons. Amici write here to emphasize the reliance interests, because we have

! No party or party’s counsel authored this brief in whole or in part. No party or party’s counsel
contributed money intended to fund preparation or submission of this brief. A list of all amici is
listed at Appendix A.
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relied on these investments in our institutions to develop hubs of innovation and technology. In
addition, the public interest will be served by a nationwide injunction given the broadscale impacts
of this immediate change by the NIH. Some jurisdictions may lose access to funding, their flagship
institutions will have experiments and scientific development jeopardized, and the broader life
science ecosystems in our cities they support could be stymied. For the reasons provided below
and offered by the Plaintiffs, the temporary restraining order should be extended in duration and
given nationwide effect.

I. THE NIH’S DECISION TO IMMEDIATELY CHANGE FUNDING IS
ARBITRARY AND CAPRICIOUS GIVEN THE SUBSTANTIAL
RELIANCE INTERESTS

Substantial agency action without consideration of the significant reliance interests makes
it arbitrary and capricious. Here, NIH has offered no explanation for its failure to consider the
substantial reliance interests of universities, hospitals, and other recipients of indirect cost funding.
U.S. Supreme Court precedent makes clear that this failure is enough to invalidate the action.

When taking a significant action as the NIH did here, it must “display awareness that it is
changing position” and “show that there are good reasons for the new policy.” FCC v. Fox
Television Stations, Inc., 556 U.S. 502, 515 (2009). Any explanation of the change must recognize
that long-standing policies create reliance interests that need to be accounted for. Smiley v. Citibank
(South Dakota), N.A., 517 U.S. 735, 742 (1996). The Supreme Court has repeatedly admonished
agency decisions that did not meet this mark, covering a range of activities and actors as well as

potential consequences.
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For example, the Court did not rely on an agency interpretation of the Fair Labor Standards
Act (FLSA) in Encino Motorcars, LLC v. Navarro, 579 U.S. 211 (2016).? At issue in that case was
the Department of Labor’s interpretation of the applicability of an exception to FLSA—
specifically, its determination that the exception did not apply to certain employees of car
dealerships. There, the Court rejected the more recent DOL analysis of the FLSA because, among
other things, “the Department gave little explanation for its decision to abandon its decades-old
practice of treating service advisors as exempt.” Jd. at 218. Car dealers expressed significant
concern about their liability exposure under the FLSA, should the agency interpretation hold. The
Court rejected the new interpretation and gave no deference to DOL: “A summary discussion may
suffice in other circumstances, but here—in particular because of decades of industry reliance on
the Department’s prior policy—the explanation fell short of the agency’s duty to explain why it
deemed it necessary to overrule its previous position.” Jd. at 222. In fact, the Court did so even
though the reliance interests were relatively modest. Car dealers’ liability under the FLSA “may
be diminished in some cases by the existence of a separate FLSA exemption for certain employees
paid on a commission basis” and because “a dealership could defend against retroactive liability
by showing it relied in good faith on the prior agency position.” Jd. at 223 (internal citations
omitted).

There is little doubt that the Plaintiffs in these cases, as well as many others impacted by
the NIH decision, have significant reliance interests ignored by the agency decision-making. A

longstanding course of dealing was rejected immediately and across-the-board without

* Encino Motorcars is a decision of statutory interpretation, where the Court looked to determine
what deference was due to the agency given its analysis of the statutory text. The Chevron
framework utilized in the case has been supplanted by Loper Bright Enterprises v. Raimondo, 603
U.S. 369 (2024). However, the Court’s analysis of reliance interests remains relevant to the issues
at hand here.
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consideration to the real-word effects on projects, jobs, and the scientific ecosystem. As amici
further demonstrate below, the reliance interests extend beyond the direct recipients of NIH funds.
Many of our jurisdictions have invested financially as well as through the resources of our
personnel to support the development of life sciences and innovation hubs. Lives, livelihoods, and
engines of economic growth are at stake.

II. THE ISSUANCE OF A DURABLE NATIONWIDE INJUNCTION WILL
PROTECT AGAINST IMMEDIATE JOB LOSS, LAB CLOSURES, AND
ECONOMIC HARMS IN AMICI JURISDICTIONS

Amici and other cities and municipalities across the United States will suffer significant
direct and indirect harms because of the NIH’s arbitrary and unlawful change to a decades-old
funding system on which our cities’ research institutions rely. As set forth below, the impact of
cuts could include immediate hiring freezes, layoffs, and loss of jobs, fewer clinical trials, and a
severe economic hit to many of our most critical anchor institutions, imperiling their positions as
key economic drivers in our communities. These drastic cuts would undermine the enterprise of
research-aligned private industry in science and medicine, which our cities have worked hard to
cultivate, lessen the value of our cities’ real estate, lower our tax revenues, and diminish the
research and scientific capacity and identity of our communities. As a result of these widespread
and immediate harms, “‘an injunction is in the public interest.” Winter v. Nat. Def. Res. Council,
Inc., 555 U.S. 7, 20 (2008).

A. The Harms to Amici Jurisdictions Are Significant and Varied

Congress has repeatedly affirmed NIH’s institution-specific reimbursement for federally
funded research. See, e.g., Consolidated Appropriations Act, 2018, § 226, Pub. L. No. 115-141,
132 Stat 348, 740, Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit.

II, § 224, 138 Stat. 460, 677 (prohibiting NIH from spending funds “to develop or implement a
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modified approach to” reimbursement of “indirect costs”). The applicable regulations also ensure
that research institutions in disparate communities across the country can be reimbursed for their
actual expenditures to support research, 45 C.F.R. 75.414(c)(1), and thereby participate in the
shared work of advancing scientific, medical, and technological innovation. The predictability of
these institution-specific negotiated rates, enshrined in federal law and existing regulations, is
essential for research institutions in our communities to accept research projects.

Our institutions depend on the negotiated rates for indirect costs to plan investments in
facilities, data processing, cutting edge laboratory equipment, and personnel who support general
research functions, and to provide the necessary infrastructure for all research to occur in our cities.
The Complaint from the Association of American Universities (AAU), the Association of Public
and Land-Grant Universities (APLU), the American Council on Education (ACE) and others
confirms that the “regulatory framework thus recognizes that there is no one-size-fits-all approach
and that participating institutions have profound reliance interests in the negotiated rates—rates
that are tailored to their circumstances and that facilitate the work that makes the United States a
world leader in cutting-edge research,” AAU Compl. § 5, and that connects each of our localities
as part of a shared national endeavor.

Amici represent jurisdictions of varying sizes, demographics, and regions. All share a
substantial risk of serious harm if an injunction is not granted. Set forth below are several
exemplars to highlight the significance of NIH funding and the impacts that would come if an
injunction is not entered. Below are only some details of a few of our signatories. By no means

does it offer an exhaustive accounting of harms the NIH will cause if its actions are not enjoined.
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1. Baltimore, Maryland

In Baltimore, Johns Hopkins University (“JHU”), was the largest university recipient of
NIH funds in the fiscal year 2023, receiving $842,956,584 which included a rate of 64% in indirect
costs.> The funding supports approximately 600 ongoing clinical trials, including in cancer,
pediatrics, heart and vascular studies, and the aging brain.*

In addition to the cutting-edge medical research performed at JHU, the University is a
cornerstone institution in the city. It is the largest private employer in Baltimore, with nearly
17,000 employees who reside in the city.> JHU’s estimated economic impact in Baltimore City is
$7.3 billion, with nearly $500 million paid to Baltimore suppliers and contractors.® A drastic
reduction in funding would significantly harm the economy of Baltimore City, a majority-minority
urban area that is already fiscally disadvantaged, and it would derail the incredibly important
medical research performed by a world-class institution.’

2. Boston, Massachusetts
In Boston, the research institutions of the city’s Longwood Medical Area (LMA), a dense

cluster of research hospitals and universities, with deep ties to the life sciences industry received

3 Michael T. Nietzel, Top 20 Universities for Funding: John Hopkins Ranks First Again, Forbes,
Feb. 10, 2024, https://www.forbes.com/sites/michaeltnietzel/2024/02/10/top-20-universities-for-
nih-funding-johns-hopkins-ranks-first-again/.

4 Hub Staff Report, Johns Hopkins leaders: NIH cuts put lifesaving medical research and care at
immediate risk, Feb. 11, 2025, _ https://hub.jhu.edu/2025/02/11/nih-research-funding-cuts-
lawsuit/.

> John Hopkins in Baltimore City Fact Sheet, Johns Hopkins Office of Government and Community
Affairs, Apr. 2023, https://gce.jhu.edu/wp-content/uploads/sites/17/Balt-City-EIR-2022-4.pdf.

6 Td.

7 Ron Daniels, Our essential research partnership with the NIH, Office of the President, Feb. 10,
2025, https://president.jhu.edu/messages/2025/02/10/our-essential-research-partnership-with-the-
nih/.
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$902 million in NIH funding in FY 2024.8 According to a 2021 economic impact report, NIH
funding in Boston’s LMA supported the employment of more than 73,000 workers including more
than 11,000 researchers alone, educators, clinicians, administrators, and more.? Ongoing federally
funded projects in Boston’s LMA include research into the causes of epilepsy, advancing leukemia
vaccines, understanding genetic causes of Alzheimer’s, and improving cell-based therapies for
brain tumors.!? Boston Mayor Michelle Wu and the City’s Office of Workforce Development
(OWD) have partnered closely with NIH-funded institutions in a Life Sciences Workforce
Initiative to ensure a strong workforce pipeline in health care and life sciences and connect
thousands of Bostonians to jobs in our hospitals and laboratories.!!
3. Cleveland, Ohio

Cleveland is home to three major health research institutions: Case Western, Cleveland
Clinic and Cleveland State University. Collectively, they could lose up to $65 million in funding.
This funding reduction may delay or halt groundbreaking treatments for cancer, pediatric diseases,

Alzheimer’s, and critical research in regenerative medicine, paralysis, and mental health.!

8 Significance of NIH Funding in Boston’s Longwood Medical and Academic Area, Longwood
Collective, Feb. 12, 2025, https:/www.longwoodcollective.org/news/significance-nih-funding-
boston%E2%80%99s-longwood-medical-and-academic-area.

° The Longwood Medical and Academic Area’s Economic Contributions to Boston and
Massachusetts, UMass Donahue Institute, Apr. 2021,  https://online.fliphtmlS.com/
pbeoo/jjci/#p=1.

10 Significance of NIH Funding in Boston’s Longwood Medical and Academic Area, supra, note
8.

1 Life Sciences Workforce Development Initiative, City of Boston, Sept. 24, 2024,
https://www.boston.gov/government/cabinets/worker-empowerment/life-sciences-workforce-
development-initiative#.

12 Emily Badger, et al., How Trump’s Medical Research Cuts Would Hit Colleges and Hospitals
in Every State, N.Y. Times, Feb. 13, 2025, https://www.nytimes.com/interactive/2025/02/13/
upshot/nih-trump-funding-cuts.html.
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Beyond advancing life-saving medical solutions, this research is essential to Cleveland’s
biomedical industry, a key driver of job creation and economic growth in the city and region. Just
since its launch in 2021, Cleveland’s partnership with its health institutions has created over 2,600
jobs and contributed considerably to the local economy.!? From a statewide perspective, Ohio
institutions received $1.2 billion in NIH grants in 2023, generating an estimated $3.3 billion in
economic activity, according to Ohio Life Sciences. The proposed rate changes threaten vital
funding, putting both scientific progress and economic stability at risk.

4. Gainesville, Florida
The University of Florida, seated in Gainesville, highlights that this drastic reduction would

have “deeply damaging effects . . . from Day One,” that would “immediately and necessarily result
in staffing reductions across the board.” AAU Compl. 1 92. The University warns that “‘a massive

reduction in the University of Florida’s research budget would immediately and seriously
jeopardize its contributions to the local region and to the state of Florida.” Jd. Because of this
developed track record, Gainesville is a particular focal point of health technology. For example,
partnership endeavors between Gainesville and University of Florida such as the Gainesville
Innovation District and Accelerate the Hub provide significant opportunities for investment in

start-up companies in the region ready to grow and advance innovation in the life sciences.!*

13 Cleveland Innovation District Partners Exceeding Many Targets Set by State and Jobs Ohio,
MetroHealth, Apr. 24, 2024, https://news.metrohealth.org/cleveland-innovation-district-partners-
exceeding-many-targets-set-by-state-and-jobsohio/.

4 Life Sciences Report, Alachua County (Gainesville), Florida, 2023,
https://image.usa.colliers.com/lib/fe3011717164047b721c70/m/1/Alachua-County_Life-
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5. Harris County, Texas

Harris County is home to the largest medical complex in the world—the Texas Medical
Center (“TMC”).!> TMC and its member organizations provide critical medical breakthroughs,
over 120,000 jobs for Harris County’s 4.8 million residents, and are responsible for more than $24
billion in annual economic activity in the Houston region.!° Harris County relies on TMC and its
member organizations to conduct invaluable research, hire employees, and contribute to the
County’s economy. In fact, research institutions in the Houston area collected a combined $263
million in indirect costs in 2024 according to the NIH agency database. Without the ability to
recoup these indirect costs from the NIH, the benefits TMC provides to Harris County are in
jeopardy.

TMC members include Rice University, the University of Houston, and the Texas Heart
Institute. All three institutions are bracing for what such severe cuts could mean for them—would
they need to make personnel cuts in short order, and what dire consequences could flow in long-
term consequences for their research portfolios.

6. Nashville, Tennessee

The Metropolitan Government of Nashville and Davidson County, Tennessee (“Metro
Nashville”) is a consolidated city and county government formed by the City of Nashville and
Davidson County and operates its safety net hospital, Nashville General Hospital (“NGH”),

through the Metro Nashville Hospital Authority. In partnership with Tennessee State University

15 About The Texas Medical Center, https://www.tmc.edu/about-tmce/.

16 Patsy Fretwell, Houston Economic Outlook: 2023-2024, Colliers, Feb. 11, 2024,
https://www.colliers.com/en/research/houston/2023-2024-houston-economic-outlook; see also
Lucy Colback, Investing in America Series: Houston diversifies its economy to come out on top,
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NGH’s Congregational Health and Education Network provides one of Metro Nashville’s most
important priority services. As a part of the Engaging Partners in Caring Communities (“EPICC”’)
project, it focuses on reducing health disparities associated with chronic health conditions such as
obesity, hypertension, diabetes, cardiovascular disease, and cancer.’

Overall, institutions in the area face over $90 million in potential losses from NIH’s
actions.!® NIH funding powers research into important areas including mental health, pandemic
pathogen preparedness, and aging. NIH’s actions throw carefully planned projects into flux.!%
Over 700 NGH patients are enrolled in three NIH funded clinical trials operated by Meharry
Medical College: (1) A Depression and Opioid Pragmatic Trial in Pharmacogenetics; (2) Genetic
Testing to Understand and Address Renal Disease Disparities; and (3) The Sepsis Clinic AI
Resource and Biorepository.

7. Pittsburgh, Pennsylvania
Carnegie Mellon University (“CMU”) in Pittsburgh reports an anticipated annual indirect
cost recovery of $8.3 million under the proposed cut that would jeopardize “all” of its current
federally funded research projects, including on restoration of sight for patients with corneal

blindness, relieving symptoms of Parkinson’s disease and improving the function of artificial

lungs. AAU Compl. 1 86. It notes that disruption to CMU research would “immediately and

necessarily result in research staffing reductions,” in the City of Pittsburgh, where CMU is among

the largest employers. Jd.

17 Center for Profession Research, Engaging Partners in Research in Caring Communities,
https://www.tnstate.edu/preventionresearch/EPICC.aspx.

18 Badger, supra, note 12.

1° Catherine Sweeney, Tennessee ’s medical research is in limbo while the Trump administration
considers illegal budget cuts, WPLN News, Feb. 11, 2025, https://wpln.org/post/tennessees-
medical-research-is-in-limbo-while-the-trump-administration-considers-illegal-budget-cuts/.

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The NIH also acts as University of Pittsburgh’s largest federal research sponsor, ranking
sixth in the nation.”° Indirect costs support the laboratory space, clinical facilities, and highly
sophisticated instruments—all essential components to making discoveries possible both now and
to pay dividends into the future.”! “A significant reduction of these funds will result in considerable
harm to University operations: for patients who receive treatments and cures, the students who
become their best selves on our campuses, and the people whose livelihoods depend on our
innovation economy.””* Partnerships between the city and its universities has powered growth for
employment and industry, such as in the biotech industry.”?

8. Salt Lake City, Utah

The University of Utah in Salt Lake City was the first institution in the world to receive an
NIH grant.”* It currently receives $252 million in NIH funding and faces an estimated loss of $43M
in funding.” In addition to producing life-saving technologies and methods, the University has
generated incalculable economic benefits for the community and beyond. Twenty years ago,
research at the University had already generated 100 spinoff companies, and this number continues

to grow.”6

?0 Kris B. Mamula, New NIH policy: Pitt faces big cut in federal research money, Post Gazette,
Feb. 8, 2025, https://www.post-gazette.com/business/healthcare-business/2025/02/08/pitt-nih-
funding-cut-trump-administration/stories/202502080038.

*1 Joan Gabel, NIH Research Funding Update for the Pitt Community, Feb. 11, 2025,
https://www.chancellor.pitt.edu/spotlights/nih-research-funding-update-pitt-community.

22 Td.

°3 Andrea Corona, Pittsburgh’s biotech leap, PharmaManufacturing Oct. 28, 2024,
https://www.pharmamanufacturing.com/production/continuous/article/55238656/pittsburghs-
biotech-leap.

24 Historical Timeline, Univ. of Utah, last visited Feb. 18, 2025,
https://www.research.utah.edu/timeline/.

>> Badger, supra note 13.

°6 Historical Timeline, supra note 24.

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The City also has made growth of the life sciences industry core to its efforts. In 2020, Salt
Lake City launched an initiative called Tech Lake City. The city’s aim is to build upon a high
concentration of life sciences workers and research in the area and a legacy of innovation in the
field.2’ NIH grants have been essential to developing this track record.
9. San Francisco, California

San Francisco is home to University of California, San Francisco (UCSF), part of the UC
system of hospitals. In 2023, UCSF received $789 million in NIH funding, the most of any public
institution for the 17th year running.*® These funds drive one of the most diverse portfolios of
scientific research in the nation. And UCSF helps drive the economy of San Francisco and the
nine-county Bay Area. With more than 35,000 employees,’ UCSF is among the largest employers
in San Francisco. According to a 2016 economic impact report, it produces an estimated $8.9
billion economic impact when including operations, construction, salaries, and local purchases by
employees, students, and visitors.*? And companies based on UCSF-developed technology have
contributed to the growth of a premier biotechnology industry in the San Francisco Bay Area,

leading cutting edge medical therapies.

7 Homegrown Innovation for a Healthier World, Salt Lake City Health Care Innovation - a Tech
Lake City Initiative, last visited Feb. 18, 2025, https:/Avww.slchealthcareinnovation.org/.

°8 Levi Gadye, UCSF Tops Public Universities in NIH Research Funding in 2023, UCSF, last
visited Feb. 19, 2025, https://www.ucsf.edu/news/2024/02/427 12 1/ucsf-tops-public-universities-
nih-research-funding-2023.

°° About, UCSF Human Resources, last visited Feb. 19, 2025, https://hr.ucsf.edu/about#.

3°T aura Kurtzman, UCSF’s Health Sciences Enterprise is a $5.4 Billion Engine of Economic
Growth, UCSF, Oct. 4, 2016, https://www.ucsf.edu/news/2016/10/40445 1 /ucsfs-health-sciences-
enterprise-54-billion-engine-economic-growth.

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Spin-off companies, startup businesses, and other collaborative endeavors are hallmarks of
many of the undersigned amici jurisdictions. NIH funding supports the essential activities of
anchor institutions in cities and counties, which in turn engender economic investment and
innovation. As a result of these efforts, our cities have seen prosperity that reaches far beyond an
individual NIH grant, no matter the size.

B. The Harms Caused to Amici Jurisdictions Will Have Ripple Effects

Injury from funding cuts to anchor research institutions in amici jurisdictions will ripple
out across the sectors that rely on the innovation, funding, and highly-skilled talent that these
institutions generate.*! A recent report on the full economic impact of NIH funding on
communities across the United States found that NIH research funding supported 412,041 jobs
and $92.89 billion in economic activity.*” NIH recipients such as universities act as income and
employment multipliers both directly and indirectly.** Hospitals and research hubs create spinoff
corporations, subcontract with local businesses, and provide training for local economies in all of
the cities amici represent.*4 Employees of such institutions are economic engines for local retail,

real estate, and restaurants in amici communities.

31 NJH’s Role in Sustaining the U.S. Economy, United for Medical Research, 2024,
https://www.unitedformedicalresearch.org/annual-economic-report-toolkit/ (Report
demonstrating that NIH funding is a nation-wide force multiplier for economic growth.).

32 Td.

33 Patrick Harker, Deborah Diamond, Davin Reed, Anchor Impact: Understanding the Role of
Higher Education and Hospitals in Regional Economies, Fed. Reserve Bank Philadelphia. Sept.
2022, https://www.philadelphiafed.org/-/media/FRBP/Assets/Community-Development/Reports/
anchor-economy-report-92022.pdf.

34 Hugo Martinez-Ardila, Angela Castro-Rodriguez, Jaime Camacho-Pico, Examining the impact
of university-industry collaborations on spin-off creation: Evidence from joint patents, Heliyon,
Aug. 25, 2023, https://pmc.ncbi.nlm.nih.gov/articles/PMC10558740/#secS (“The knowledge
exchange and collaborative efforts between companies and universities can result in breakthrough
innovations and novel solutions that would not have been possible through internal efforts alone.’’).

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Amici’s institutions’ economic impact reaches beyond their neighborhoods—they
collaborate with institutions across the country and internationally, and have positive impacts in
their state. For example, the Ohio State University, based in Columbus, estimated that in just one
year, it contributed over $19 billion in economic impact to the state as a whole.*° In Gainesville,
local governments and the State of Florida have worked together for decades to successfully
incubate an economic development ecosystem rooted in private biotech companies and spurred
directly by innovation funded in large measure by NIH grants.*® The reductions contemplated
could bring that private investment and its associated workforce to a screeching and dangerous
halt.

A reduction in employment, business development and innovation, and investment in amici
localities will cause great strain on city administration, particularly in their workforce and
economic development offices. Increased reliance on public benefits, some administered through
the cities, will strain local resources. As businesses, investors, and highly talented residents begin
to look elsewhere—including abroad—for opportunity, localities’ tax bases will inevitably face
challenges, which will have additional deleterious effects on the health and welfare of communities

as a whole.

33. The Ohio State University’s Economic Impact, The Ohio State University, 2022,
https://erik.osu.edu/economic-impact.

36 See, e.g. UF to create ‘world-class destination’ with project in Gainesville’s Innovation
District, Gainesville Sun, Dec. 11, 2023, _ https://www.gainesville.com/story/
news/education/2023/12/1 1/uf-to-develop-13-acres-in-gainesvilles-innovation-

district/7 1877484007/.

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CONCLUSION
For the foregoing reasons, amici respectfully request that this Court grant Plaintiffs’ request
for a temporary restraining order against Defendants.
Respectfully submitted,

/s/ Jonathan B. Miller
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Dated: February 20, 2025

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APPENDIX A—LIST OF AMICI CURIAE

City of Boston, Massachusetts
City of Cleveland, Ohio

Harvey L. Ward
Mayor, City of Gainesville, Florida

Metropolitan Government of Nashville and Davidson County, Tennessee

Erin Mendenhall
Mayor, City of Salt Lake City, Utah

City of Alameda, California
City of Albuquerque, New Mexico
Allegheny County, Pennsylvania

City of Baltimore, Maryland

Emma Mulvaney-Stanak
Mayor, City of Burlington, Vermont

Township of Canton, Michigan
Town of Chapel Hill, North Carolina
City of Chicago, Illinois

Sandra Welch
Mayor, City of Coconut Creek, Florida

City of Columbus, Ohio
City of Easthampton, Massachusetts

Daniel Biss
Mayor, City of Evanston, Illinois

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City of Fairfax, Virginia
Harris County, Texas

Ravinder S. Bhalla
Mayor, City of Hoboken, New Jersey

Quinton Lucas
Mayor, Kansas City, Missouri

Indya Kincannon
Mayor, City of Knoxville, Tennessee

City of Madison, Wisconsin

Jeff Silvestrini
Mayor, City of Millcreek, Utah

Anissa Welch
Mayor, City of Milton, Wisconsin

Montgomery County, Maryland
City of New Haven, Connecticut

Dontae Payne
Mayor, City of Olympia, Washington

City of Plainfield, New Jersey

Adrian O. Mapp
Mayor, City of Plainfield, New Jersey

Sue Noack
Mayor, City of Pleasant Hill, California

City of Pittsburg, Pennsylvania
Ed Gainey

Mayor, City of Pittsburgh, Pennsylvania

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City of Providence, Rhode Island

John Clark
Mayor, Town of Ridgway, Colorado

City of Rochester, New York
City of Sacramento, California
City and County of San Francisco, California
City of Santa Monica, California

Constantine H. Kutteh
Mayor, City of Statesville, North Carolina

Lisa Brown
Mayor, City of Spokane, Washington

St. Louis County, Missouri

Tishaura O. Jones
Mayor, City of St. Louis, Missouri

City of St. Paul, Minnesota

Dennis R. McBride
Mayor, City of Wauwatosa, Wisconsin

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CERTIFICATION OF SERVICE

I hereby certify that a copy of the foregoing was this day served on all counsel via the
court’s electronic service system.

/s/ Jonathan B. Miller
Jonathan B. Miller (BBO#663012)
Public Rights Project

Dated: February 20, 2025

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